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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


    DONALD J. TRUMP FOR PRESIDENT,
    INC., et al.,

          Plaintiffs,                                                Case No. 1:20-cv-1083

    v.                                                               HON. JANET T. NEFF

    JOCELYN BENSON, et al.,

          Defendants.
    ____________________________/

                                             ORDER

         Pending before the Court is a Motion to Intervene filed by the Michigan State Conference

NAACP, Wendell Anthony, Yvonne White, and Andre Wilkes (ECF No. 6); and a Motion to

Intervene filed by the Democratic National Committee and the Michigan Democratic Party (ECF

No. 10). The proposed intervenors, who request expedited consideration of their motions, received

concurrence in their motions from anticipated 1 counsel for Defendants (ECF Nos. 8 & 11). The

proposed intervenors received no response from counsel for Plaintiffs, despite their efforts to meet

and confer (id.). Therefore, pursuant to W.D. Mich. LCivR 7.1(c),

         IT IS HEREBY ORDERED that Responses, if any, to the Motions to Intervene (ECF

Nos. 6 &10) shall be filed not later than 5:00 p.m. on Monday, November 16, 2020.


Dated: November 16, 2020                                        /s/ Janet T. Neff
                                                             JANET T. NEFF
                                                             United States District Judge



1
 Plaintiffs have not yet served Defendants, and no appearances from counsel have yet been filed
on behalf of Defendants.
